Case: Case
      19-51013     Document: 00515735076
           1:19-cv-00415-LY               Page:
                             Document 43 Filed   1 DatePage
                                               02/05/21 Filed:1 02/05/2021
                                                                of 15




              United States Court of Appeals
                   for the Fifth Circuit                          United States Court of Appeals
                                                                           Fifth Circuit

                                                                         FILED
                                                                   January 7, 2021
                                   No. 19-51013
                                                                    Lyle W. Cayce
                                                                         Clerk
   John Doe,

                                                           Plaintiff—Appellant,

                                       versus

   Melissa Harrell, individually and in her official capacity; Laura E.
   Mitchell, individually and in her official capacity; Rena S. Day,
   individually and in her official capacity; Board of Regents of the
   University of Texas System,

                                                         Defendants—Appellees.


                  Appeal from the United States District Court
                       for the Western District of Texas
                            USDC No. 1:19-CV-415


   Before Haynes, Higginson, and Oldham, Circuit Judges.
   Per Curiam:*
          John Doe is a former epidemiology graduate student who pursued a
   PhD at the University of Texas Health Science Center (“UTHealth”) for
   three-and-a-half years. He was dismissed from the PhD program after failing


          *
            Pursuant to 5th Circuit Rule 47.5, the court has determined that this
   opinion should not be published and is not precedent except under the limited
   circumstances set forth in 5th Circuit Rule 47.5.4.
Case: Case
      19-51013     Document: 00515735076
           1:19-cv-00415-LY               Page:
                             Document 43 Filed   2 DatePage
                                               02/05/21 Filed:2 02/05/2021
                                                                of 15



                                        No. 19-51013


   a required examination three times.             He alleged that his UTHealth
   professors—Melissa B. Harrell, Laura E. Mitchell, Rena S. Day (collectively,
   the “Professors”)—and the Board of Regents of the University of Texas
   System (the “Board,” and with the Professors, “Defendants”) actually
   dismissed him from the program because he has views critical of current
   vaccine research. The district court dismissed his claims, some for lack of
   subject-matter jurisdiction and the remainder for failure to state a claim. We
   AFFIRM. 1

                                         Background

          Because Doe appeals the dismissal of his complaint, we take all well-
   pleaded factual allegations in his complaint as true; this section, therefore,
   reflects the facts as alleged therein. See Doe ex rel. Magee v. Covington Cnty.
   Sch. Dist. ex rel. Keys, 675 F.3d 849, 854 (5th Cir. 2012) (en banc).
          Doe has concerns about current vaccine research: he has “regularly
   and consistently espoused views that are critical of vaccine safety and
   efficacy” and has “brought attention to scientific studies and government
   documents that link vaccines to autism.” He has posted about these topics
   on social media, which he claims has prompted others to start “letter-writing
   campaigns” against him.
          Doe applied and was admitted to UTHealth’s epidemiology PhD
   program in 2013. After enrolling in the program, Doe spent his first two years
   completing coursework in preparation to take a required “preliminary
   examination”—which he needed to pass to begin writing a dissertation and
   ultimately obtain his PhD.




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              Judge Oldham concurs in the judgment only.




                                             2
Case: Case
      19-51013     Document: 00515735076
           1:19-cv-00415-LY               Page:
                             Document 43 Filed   3 DatePage
                                               02/05/21 Filed:3 02/05/2021
                                                                of 15



                                    No. 19-51013


          Doe took that exam for the first time in June 2015. He failed it.
   Mitchell, then-head of the Preliminary Exam Committee, provided Doe with
   an “Exam Summary”—but not Doe’s graded exam itself—indicating that
   Doe’s exam answers demonstrated “broad deficits” in knowledge with
   respect to all areas of epidemiology. Mitchell created a remediation plan to
   help Doe prepare to take the preliminary examination a second time. Doe
   ultimately modified that plan, opting to meet one-on-one with Harrell, his
   academic advisor.
          Doe took—and failed—the exam a second time in January 2016,
   causing him to be dismissed from the PhD program. Like the first time he
   took the exam, he was provided a summary of his results but not his graded
   exam itself. Doe filed an academic appeal, asking UTHealth to reconsider
   his dismissal. UTHealth gave him another chance: he was readmitted to the
   program, but only on the condition that he pass the preliminary exam on his
   third attempt. Doe was also given additional assistance in preparing for the
   third exam, including reviewing his prior preliminary exams with Day. He
   nonetheless failed it a third time, resulting in a final dismissal from the PhD
   program.
          Following his dismissal, Doe filed an unsuccessful lawsuit in state
   court, seeking pre-suit discovery from the Professors under Texas Rule of
   Civil Procedure 202. Doe then filed this case in federal district court. In
   Doe’s operative Second Amended Complaint, Doe alleged five claims
   against the Board and the Professors in both their individual and official
   capacities, asserting that:
          (1)    the Professors engaged in “ultra vires” conduct beyond the au-
                 thority conferred on them by the State or the University of
                 Texas (Count I);
          (2)    all Defendants engaged in viewpoint discrimination and retali-
                 ation in violation of the First Amendment by dismissing him




                                         3
Case: Case
      19-51013     Document: 00515735076
           1:19-cv-00415-LY               Page:
                             Document 43 Filed   4 DatePage
                                               02/05/21 Filed:4 02/05/2021
                                                                of 15



                                           No. 19-51013


                     for his views on vaccines (Count II);
            (3)      all Defendants dismissed him in violation of the Due Process
                     Clause of the Fourteenth Amendment (Count III);
            (4)      all Defendants dismissed him in violation of the due-course-of-
                     law protections of Article I, Section 19 of the Texas Constitu-
                     tion (Count IV); and
            (5)      all Defendants breached their contract with Doe by violating
                     the terms of his academic program (Count V).
   With respect to all claims, Doe sought only prospective relief: reinstatement
   to the PhD program. 2
            In connection with the litigation, Doe sent Defendants a number of
   document requests, which he characterized as “jurisdictional discovery” but
   which essentially sought to find out what the Professors knew about his
   vaccine viewpoint. The district court granted the Defendants a protective
   order denying Doe the requested discovery.
            Defendants moved to dismiss Doe’s complaint for lack of subject-
   matter jurisdiction and for failure to state a claim under Federal Rules of Civil
   Procedure 12(b)(1) and 12(b)(6), respectively. The district court granted the
   motion in full. Doe timely appealed.

                              Jurisdiction & Standard of Review

            The district court concluded that it lacked jurisdiction to consider
   many of Doe’s claims. We have jurisdiction to decide jurisdiction; the


   2   Specifically, his prayer for relief sought only “equitable relief” as follows:
            1. An order reinstating Plaintiff to The University of Texas Health Sci-
            ence Center; and otherwise placing him in the position he would have
            been in but for Defendants’ wrongdoing;
            2. A permanent injunction out of this Court prohibiting any further acts
            of wrongdoing;
            3. Whatever other equitable relief appears appropriate at the time of final
            judgment.




                                                 4
Case: Case
      19-51013     Document: 00515735076
           1:19-cv-00415-LY               Page:
                             Document 43 Filed   5 DatePage
                                               02/05/21 Filed:5 02/05/2021
                                                                of 15



                                          No. 19-51013


   burden of proving jurisdiction falls on the plaintiff. See In re Transtexas Gas
   Corp., 303 F.3d 571, 576–77 (5th Cir. 2002); see also St. Tammany Par. ex rel.
   Davis v. FEMA, 556 F.3d 307, 315 (5th Cir. 2009) (placing the burden of proof
   to prove lack of sovereign immunity on the plaintiff). Federal question claims
   fall under 28 U.S.C. § 1331 and appellate jurisdiction under 28 U.S.C. § 1291.
   Our jurisdictional review and our merits review are both de novo. See
   Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001) (per curiam). 3 To
   survive a 12(b)(6) motion, the plaintiff must allege sufficient facts to “state a
   claim to relief that is plausible on its face” such that a court can “draw the
   reasonable inference that the defendant is liable for the misconduct alleged.”
   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007) (first quotation); Ashcroft
   v. Iqbal, 556 U.S. 662, 678 (2009) (second quotation). The allegations must
   be more than “speculative”; “mere conclusory statements . . . do not
   suffice.” Iqbal, 556 U.S. at 678.
           Doe also challenges the district court’s decision to deny him pre-
   motion-to-dismiss discovery. We review such discovery rulings for abuse of
   discretion. Freeman v. United States, 556 F.3d 326, 341 (5th Cir. 2009).

                                            Discussion

           State Sovereign Immunity

           State sovereign immunity typically prevents federal courts from
   exercising subject-matter jurisdiction over suits against a state, its agencies,


           3
             There is a difference between the evaluation of 12(b)(1) and 12(b)(6) motions with
   respect to factual claims: a district court can resolve factual disputes in evaluating its
   jurisdiction but must accept the pleaded facts as true in determining whether the complaint
   states a claim. Smith v. Reg’l Transit Auth., 756 F.3d 340, 347 (5th Cir. 2014). Here,
   however, the district court did not assess disputed facts in either of its analyses—the issue
   with Doe’s complaint, as the district court correctly identified, was the absence of certain
   factual allegations.




                                                5
Case: Case
      19-51013     Document: 00515735076
           1:19-cv-00415-LY               Page:
                             Document 43 Filed   6 DatePage
                                               02/05/21 Filed:6 02/05/2021
                                                                of 15



                                           No. 19-51013


   or its officials unless either the state has waived its immunity or Congress has
   abrogated it. Bryant v. Tex. Dep’t of Aging & Disability Servs., 781 F.3d 764,
   769 (5th Cir. 2015). Doe does not dispute that the Board and the Professors
   can assert state sovereign immunity. 4 Nor does he contend that the state has
   waived its immunity with respect to any of his claims or that Congress has
   abrogated Defendants’ immunity. Doe instead seeks to invoke the exception
   to state sovereign immunity for certain cases seeking prospective relief laid
   out in Ex parte Young, 209 U.S. 123 (1908). 5 His arguments, however, fail.
           The Board itself is immune from all of Doe’s claims: absent waiver or
   abrogation (neither of which are at issue here), only state officials—not state
   agencies—can be prospectively enjoined consistent with state sovereign
   immunity. 6 See P.R. Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S.


           4
             As relevant here, neither party disputes that the Board is a state agency entitled
   to assert state sovereign immunity as an “arm of the state.” Mt. Healthy Sch. Dist. Bd. of
   Educ. v. Doyle, 429 U.S. 274, 280–81 (1977); see also Texas ex rel. Bd. of Regents of Univ. of
   Tex. Sys. v. Walker, 142 F.3d 813, 820 n.10 (5th Cir. 1998) (suggesting that the Board can
   assert state sovereign immunity). Likewise, neither party disputes that the Professors can
   assert state sovereign immunity as state officials. See Hafer v. Melo, 502 U.S. 21, 25 (1991).
   We agree.
           5
             Doe also asserts that the Professors acted beyond their authority such that they
   are not entitled to immunity and can be sued in their individual capacities. But even if that
   mechanism were available in other situations, Doe cannot evade state sovereign immunity
   or pursue individual capacity claims here because the relief Doe seeks—reinstatement—
   can only be provided by the Professors in their official capacities. See Pennhurst State Sch.
   & Hosp. v. Halderman, 465 U.S. 89, 106–09 (1984) (rejecting an ultra vires argument
   because the relief sought—closing a hospital and creating new, smaller hospitals—“was
   institutional and official in character”).
           6
             Doe tries to avoid state agency immunity by asserting that his claims against the
   Board should be treated as claims against the Board’s individual members under Rule 17(d).
   But that rule simply allows a “public officer” to be designated by title instead of name; it
   does not, as Doe urges, permit a court to treat a suit against an entity as a suit against the
   individuals that comprise it. FED. R. CIV. P. 17(d). Doe did not sue any individual Board
   members using either their official titles or their names; he merely sued the Board itself.
   Rule 17(d) is therefore inapplicable.




                                                 6
Case: Case
      19-51013     Document: 00515735076
           1:19-cv-00415-LY               Page:
                             Document 43 Filed   7 DatePage
                                               02/05/21 Filed:7 02/05/2021
                                                                of 15



                                         No. 19-51013


   139, 146 (1993) (noting that Ex parte Young “has no application in suits
   against the States and their agencies, which are barred regardless of the relief
   sought”); accord Cozzo v. Tangipahoa Par. Council–President Gov’t, 279 F.3d
   273, 280 (5th Cir. 2002). We therefore conclude that all of Doe’s claims
   against the Board were properly dismissed. 7
           The Professors are also immune with respect to Doe’s state law
   claims. Ex parte Young allows only federal claims against state officials for
   prospective relief; it cannot be used to “instruct[] state officials on how to
   conform their conduct to state law.” Pennhurst State Sch. & Hosp. v.
   Halderman, 465 U.S. 89, 106 (1984); Corn v. Miss. Dep’t of Pub. Safety, 954
   F.3d 268, 275 (5th Cir.), cert. denied, 2020 WL 6385842 (Nov. 2, 2020)
   (“[S]tate officials cannot be sued for violations of state law in federal court,
   even under the Ex Parte Young exception.”). Doe’s state law claims (Counts
   I, IV, and V) against the Professors were therefore also properly dismissed.
           We now turn to Doe’s federal viewpoint discrimination and due
   process claims against the Professors (Counts II and III).

           Viewpoint Discrimination

           To sustain his claim that the Professors discriminated and retaliated
   against him for his views on vaccine safety, Doe needed to plausibly allege
   that: (1) he engaged in constitutionally-protected speech; 8 and (2) his speech
   was a substantial or motivating factor in the Professors’ decision to remove
   him from the PhD program. See Kelleher v. Flawn, 761 F.2d 1079, 1083 (5th



           7
            Although the district court based its dismissal of Doe’s claims against the Board
   on lack of standing, we may affirm a jurisdictional dismissal on any ground supported by
   the record. Texas v. Travis Cnty., 910 F.3d 809, 811 (5th Cir. 2018).
           8
             Defendants do not dispute that Doe adequately alleged that he had engaged in
   constitutionally protected speech.




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Case: Case
      19-51013     Document: 00515735076
           1:19-cv-00415-LY               Page:
                             Document 43 Filed   8 DatePage
                                               02/05/21 Filed:8 02/05/2021
                                                                of 15



                                         No. 19-51013


   Cir. 1985). To avoid dismissal as to the second prong, Doe had to plausibly
   allege facts indicating that the Professors knew about his views on vaccines.
   See Dearman v. Stone Cnty. Sch. Dist., 832 F.3d 577, 581 (5th Cir. 2016) (citing
   Tharling v. City of Port Lavaca, 329 F.3d 422, 428 (5th Cir. 2003) (“It is
   axiomatic that a party cannot be ‘substantially motivated’ by a circumstance
   of which that party is unaware.”)).
           Doe failed to allege that the Professors were aware of his views. There
   are some allegations suggesting Doe stated his views generally: Doe alleged
   that he discussed his views on vaccine safety on social media and in his
   application to UTHealth. Those statements, Doe alleged, prompted “letter-
   writing campaigns” from others who disagreed with him. 9 But there are no
   allegations about the Professors’ particular knowledge: Doe did not allege
   any facts suggesting that the Professors were aware of his social media
   activity, the contents of his application, or any letters written by his
   opponents.
           On appeal, Doe also cites an affidavit he submitted in response to
   Defendants’ motion to dismiss, in which he stated that Harrell knew his
   views on vaccines because he had expressed them in his classes and in an
   extracurricular group. But no allegations to that effect appear anywhere in
   his complaint. In any event, even if Doe had included allegations of Harrell’s
   knowledge of his views in his complaint, Doe did not allege (in his complaint
   or in his affidavit) that Harrell had any role in the decision to dismiss him
   from UTHealth or that Harrell communicated her knowledge of Doe’s views




           9
              On appeal, Doe cites similar allegations in his state court pre-suit discovery
   petition indicating that he was the subject of some media attention. Even if we were to
   consider those allegations, Doe’s state court petition—like his operative complaint—fails
   to suggest that the Professors were aware of the media attention he received.




                                              8
Case: Case
      19-51013     Document: 00515735076
           1:19-cv-00415-LY               Page:
                             Document 43 Filed   9 DatePage
                                               02/05/21 Filed:9 02/05/2021
                                                                of 15



                                     No. 19-51013


   to anyone who did. Thus, the allegations underlying the affidavit would be
   insufficient to establish a causal link between Doe’s speech and his dismissal.
          Because Doe failed to allege any facts plausibly suggesting that the
   Professors knew of his views on vaccine safety, he failed to adequately plead
   that his views were a substantial or motivating factor in his removal from the
   PhD program.      The district court therefore properly dismissed Doe’s
   viewpoint discrimination claim.

          Due Process

          Doe also challenges the dismissal of his due process claim. Although
   Doe does not clearly articulate whether his due process claim is procedural
   or substantive, the district court addressed the claim through both lenses.
   We will do so as well.

          1.     Procedural Due Process

          Students dismissed from public universities for disciplinary reasons
   generally have constitutionally protected interests that warrant due process
   protections. See Goss v. Lopez, 419 U.S. 565, 574 (1975). The Supreme Court
   has indicated that academic dismissals can also warrant some, if fewer,
   procedural safeguards. See Regents of Univ. of Mich. v. Ewing, 474 U.S. 214,
   222 (1985); Bd. of Curators of Univ. of Mo. v. Horowitz, 435 U.S. 78, 90 (1978).
   Doe concedes that his dismissal was academic. See generally Wheeler v. Miller,
   168 F.3d 241, 250 (5th Cir. 1999) (per curiam) (noting that “poor grades”
   and unsuccessful “remediation” are paradigmatic academic dismissals).
          A public university is not required to afford significant process before
   dismissing a student on academic grounds; the university need only provide
   notice explaining the reasons for the “faculty’s dissatisfaction.” Horowitz,
   435 U.S. at 85; see also Shaboon v. Duncan, 252 F.3d 722, 731 (5th Cir. 2001).
   Doe’s allegations plainly indicate that he received more than enough notice




                                          9
Case: Case
      19-51013     Document: 00515735076
           1:19-cv-00415-LY               Page:
                             Document 43 Filed   10 Date
                                               02/05/21   Filed:
                                                        Page  10 02/05/2021
                                                                 of 15



                                     No. 19-51013


   of his substandard academic performance to meet that requirement: Doe was
   given three chances to take the required exam and exam summaries detailing
   his performance. He was provided multiple remedial learning programs and
   was allowed to retake courses. He was provided one-on-one instructional
   assistance. Finally, before he took the third exam, he met with Day—who
   Doe indicates wrote the exam—to review and discuss questions from his
   previous two sittings. Certainly, Doe wanted even more information, but the
   information he did receive was more than enough to inform him of the
   Professors’ “dissatisfaction” with his academic performance. Horowitz, 435
   U.S. at 85.    Accordingly, the district court correctly dismissed Doe’s
   procedural due process claim.

          2.     Substantive Due Process

          An academic dismissal only amounts to a substantive due process
   violation if it is “clearly arbitrary or capricious.” Id. at 91 (quotation marks
   omitted). A plaintiff must therefore plausibly allege that the defendants’
   conduct is beyond the pale of reasonable academic decision-making: the
   conduct must be “such a substantial departure from accepted academic
   norms as to demonstrate that the [officials] responsible did not actually
   exercise professional judgment.” Ewing, 474 U.S. at 225; accord Patel v. Tex.
   Tech Univ., 941 F.3d 743, 748 (5th Cir. 2019).
          Doe’s substantive due process claim fails for the same reasons as his
   viewpoint discrimination claim.      The Professors’ failures of academic
   judgment, Doe claims, are founded on their “bad faith motive” in
   “discriminat[ing] against him based on his well-known viewpoints critical of
   vaccine safety and efficacy.” But, as discussed, Doe failed to plausibly allege
   that the Professors were even aware of those views. So, there is nothing to
   suggest that they departed—let alone substantially departed—from any




                                         10
Case: Case
      19-51013     Document: 00515735076
           1:19-cv-00415-LY               Page:
                             Document 43 Filed   11 Date
                                               02/05/21   Filed:
                                                        Page  11 02/05/2021
                                                                 of 15



                                         No. 19-51013


   academic norms of nondiscrimination. 10                 Ewing, 474 U.S. at 225.
   Accordingly, the district court correctly dismissed Doe’s substantive due
   process claim.

           Pre-Motion-To-Dismiss Discovery

           Doe also claims that the district court erred in denying him discovery
   prior to dismissing his claims for lack of subject-matter jurisdiction and
   failure to state a claim. In particular, he suggests that “jurisdictional
   discovery” would have “answered” issues with his First Amendment
   viewpoint discrimination claim. That information, he argues, would have
   helped him negate Defendants’ immunity defenses and therefore
   demonstrate the court’s jurisdiction.
           The problem for Doe is that jurisdiction already existed over his
   viewpoint discrimination and due process claims against the Professors: As
   state officials, they cannot invoke state sovereign immunity against federal
   claims seeking prospective relief. That is at the core of the Ex parte Young
   doctrine. See, e.g., Verizon Md., Inc. v. Pub. Serv. Comm’n of Md., 535 U.S.
   635, 645 (2002) (“[Under] Ex parte Young . . . , a court need only conduct a
   straightforward inquiry into whether the complaint alleges an ongoing
   violation of federal law and seeks relief properly characterized as
   prospective.” (internal quotation marks and citation omitted)). Nor would
   fact discovery change the immunity calculus with respect to Doe’s other


           10
              To the extent Doe’s arguments concern more than just the Professors’ alleged
   viewpoint discrimination, Doe nonetheless failed to allege more than minor departures
   from academic norms: he alleged that Mitchell provided him allegedly unhelpful and
   “harshly written” exam summaries; that Mitchell incorrectly told him after his first exam
   that there was no appeal mechanism for exam results; and that Mitchell and Harrell created
   allegedly ineffective remediation plans. Doe points to no reason why those alleged
   incidents would fall outside the bounds of reasonable professional judgment. See Ewing,
   474 U.S. at 514.




                                              11
Case: Case
      19-51013     Document: 00515735076
           1:19-cv-00415-LY               Page:
                             Document 43 Filed   12 Date
                                               02/05/21   Filed:
                                                        Page  12 02/05/2021
                                                                 of 15



                                      No. 19-51013


   claims; as discussed above, Doe cannot maintain those causes of action at all
   here given the prospective and uniquely institutional nature of the relief he
   seeks.    See Pennhurst, 465 U.S. at 106–09; cf. Arriba Ltd. v. Petroleos
   Mexicanos, 962 F.2d 528, 537 n.17 (5th Cir. 1992) (noting that jurisdictional
   discovery is generally only available in the immunity context if the
   applicability of an immunity turns on a fact question).
            That means that the only conceivable use for Doe’s requested
   discovery would be to shore up the merits of his viewpoint discrimination
   claim. But a plaintiff must adequately plead a claim before getting merits
   discovery. See Twombly, 550 U.S. at 559 (“It is no answer to say that a claim
   just shy of a plausible entitlement to relief can, if groundless, be weeded out
   early in the discovery process.”); Iqbal, 556 U.S. at 686 (“Because [the
   plaintiff]’s complaint is deficient . . . , he is not entitled to discovery, cabined
   or otherwise.”); see, e.g., Jones v. Nueces Cnty., 589 F. App’x 682, 686 (5th
   Cir. 2014) (per curiam) (“To the extent that [the plaintiff]’s requested
   discovery regarded his constitutional claims, he was not entitled to it because
   the district court held that the claims were inadequately pleaded.”). As we
   have discussed, Doe failed to satisfy his pleading obligations. Accordingly,
   the district court appropriately denied Doe the requested discovery.
            AFFIRMED.




                                           12
              Case:Case
                    19-51013    Document: Document
                        1:19-cv-00415-LY  00515735077   Page:
                                                   43 Filed    1 Date
                                                            02/05/21  Filed:
                                                                     Page 1302/05/2021
                                                                             of 15




                            United States Court of Appeals
Certified as a true copy and issued
as the mandate on Feb 05, 2021
                                    for the Fifth Circuit                         United States Court of Appeals
                                                                                           Fifth Circuit
                                                 ___________
Attest:                                                                                  FILED
                                                                                   January 7, 2021
Clerk, U.S. Court of Appeals, Fifth Circuit      No. 19-51013
                                                ___________                         Lyle W. Cayce
                                                                                         Clerk
                  John Doe,

                                                                         Plaintiff—Appellant,

                                                      versus

                  Melissa Harrell, Individually and in her official
                  capacity; Laura E. Mitchell, Individually and in her
                  official capacity; Rena S. Day, Individually and in her
                  official capacity; Board of Regents of the University
                  of Texas System,

                                                             Defendants—Appellees.
                                     ____________________________

                                   Appeal from the United States District Court
                                        for the Western District of Texas
                                             USDC No. 1:19-CV-415
                                    ____________________________

                  Before Haynes, Higginson, and Oldham, Circuit Judges.

                                               JUDGMENT

                          This cause was considered on the record on appeal and the briefs on
                  file.
Case:Case
      19-51013    Document: Document
          1:19-cv-00415-LY  00515735077   Page:
                                     43 Filed    2 Date
                                              02/05/21  Filed:
                                                       Page 1402/05/2021
                                                               of 15
                                               19-51013




              IT IS ORDERED and ADJUDGED that the judgment of the
   District Court is AFFIRMED. 1
              IT IS FURTHER ORDERED that Appellant pay to Appellees the
   costs on appeal to be taxed by the Clerk of this Court.




   1
       Judge Oldham concurs in the judgment only.




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  Case:Case
        19-51013    Document: Document
            1:19-cv-00415-LY  00515735086   Page:
                                       43 Filed    1 Date
                                                02/05/21  Filed:
                                                         Page 1502/05/2021
                                                                 of 15




                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE,
                                                                   Suite 115
                                                          NEW ORLEANS, LA 70130

                           February 05, 2021


Ms. Jeannette Clack
Western District of Texas, Austin
United States District Court
501 W. 5th Street
Austin, TX 78701-0000

      No. 19-51013     Doe v. Harrell
                       USDC No. 1:19-CV-415


Dear Ms. Clack,
Enclosed is a copy of the judgment issued as the mandate and a
copy of the court's opinion.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk



                                  By: _________________________
                                  Melissa V. Mattingly, Deputy Clerk
                                  504-310-7719
cc w/encl:
     Mr. Benjamin Lindberg Dower
     Mr. Evan Scott Greene
     Ms. Anita Kawaja
     Mr. David Kenneth Sergi
     Mr. Esteban San Miguel Soto
